 Case 1:17-cv-00294-JTN-ESC ECF No. 30 filed 08/14/17 PageID.142 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                         ________________________________

LEAH EVELYN MOYER,

                            Plaintiff,                   No. 1:17-cv-294-JTN-ESC


v.                                                       Hon. Janet T. Neff
                                                         U.S. District Judge
PROFORMA MECHANICAL INC.,
 d/b/a Crown Jewel Auto, and,
 d/b/a Crown Jewel Auto Sales,
CEBO INVESTMENT GROUP INC., and,
CHRISTOPHER LAWRENCE WAGNER,

                            Defendants.

________________________________/


               STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
               ALL PARTIES WHO HAVE APPEARED IN THIS ACTION

       Pursuant to Fed. R.Civ. P. 41(a)(1)(A)(ii), plaintiff Leah Evelyn Moyer and

defendant Christopher Lawrence Wagner, being all of the parties who have appeared in

this action, Stipulate and Agree to its dismissal with prejudice.

       This Dismissal is being filed by these parties. The plaintiff has previously filed a

voluntary Dismissal (with prejudice) (Dkt. #26 ) pursuant to Fed. R.Civ. P. 41(a)(1)(A)(i),

of the remaining other two defendants who have not appeared. Therefore, this

concludes the matter.

Dated: August 14, 2017                                                  144 , 2017
                                                         Dated: August ___
                                                                       14

/s/ Anthony J. Valentine
Anthony J. Valentine (P32840)                            Christopher Lawrence Wagner
Attorney at Law                                                 Defendant
Attorney for Plaintiff                                   4786 Bonnie Avenue, SE
Ste. 227, 29 Pearl Street, N.W .                         Grand Rapids, MI 49508
Grand Rapids, MI 49503
(616) 288-5410
tonyvalentinelaw@gmail.com
